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                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

David J. Smith                                                                       For rules and forms visit
Clerk of Court                                                                       www.ca11.uscourts.gov


                                           August 22, 2022

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Appeal Number: 22-11707-JJ
Case Style: Paul Eknes-Tucker, et al v. Governor of the State of Alabama, et al
District Court Docket No: 2:22-cv-00184-LCB-SRW

Electronic Filing
All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
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permitted to use the ECF system by registering for an account at www.pacer.gov. Information
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Your Application to Appear Pro Hac Vice in this appeal has been GRANTED.

Counsel who wish to participate in this appeal must complete and electronically file an
appearance form within fourteen (14) days (appearance of counsel forms are available on the
court's website). The clerk may not process filings from an attorney until that attorney files an
appearance form. See 11th Cir. R. 46-6.

If you have not yet registered for the Electronic Case Files (ECF) system, information regarding
registration can be found on the court's website under "E-Filing Information (CM/ECF)".

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Tiffany Tucker, JJ
Phone #: (404)335-6193

                                                                       MOT-2 Notice of Court Action
